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                                                UNITED STATES DISTRICT COURT
                                               WESTERN DISTRICT OF WASHINGTON
                                                    OFFICE OF THE CLERK
                                                         AT SEATTLE



WILLIAM M. MCCOOL
CLERK OF COURT
700 STEWART ST.
SEATTLE, WA 98101

August 14, 2019

Re: WAG ACQUISITION LLC V. FLYING CROCODILE INC ET AL                                                             2:19−cv−01278−JRC

Dear Counsel:

The above referenced case has been transferred to the Western District of Washington from New Jersey on
August 14, 2019 as cause number 2:19−cv−01278−JRC. This case has been assigned to the Honorable J
Richard Creatura.

Pursuant to LCR 83.1(d)(1)*, you are required to associate local counsel in this district. After completing the
Application for Leave to Appear Pro Hac Vice and the ECF Registration Form found on the court's website,
please contact local counsel so that they can file them electronically on your behalf and pay the required
$231.00 fee. When your application has been approved, the court will send you a login and a password for the
Electronic Filing system. Electronic filing is mandatory in the Western District of Washington.

If you do not intend to appear in this case, please call the Seattle Case Administrator's Team at
206−370−8450.

If a motion is pending and undecided at the time of transfer, the moving party must note it for consideration
on the court's calendar in accordance with LCR 7(d).

Please go to the district's website at www.wawd.uscourts.gov to download the necessary application and
registration form, the electronic filing procedures, and the local rules.

After this letter, you will not receive further notification of activity in this case until the local attorney
files an Application for Leave to Appear Pro Hac Vice on your behalf and the required fee has been
paid.

Thank you for your cooperation.

Sincerely,



William M. McCool, Clerk of Court

 s/Gabriel Traber
 Deputy Clerk



*Admission Pro Hac Vice. Any member in good standing of the bar of any court of the United States, or of the highest court of any state, or of any organized
territory of the United States, and who neither resides nor maintains an office for the practice of law in the Western District of Washington normally will be
permitted upon application and upon a showing of particular need to appear and participate in a particular case pro hac vice. The party must also be
represented by local counsel, who shall fulfill the responsibilities set forth below. Attorneys who are admitted to the bar of this court but reside outside the
district need not associate with local counsel.

An application for leave to appear pro hac vice shall be promptly filed with the clerk and shall set forth: (1) the name and address of the applicant's law firm;
(2) the basis upon which "particular need" is claimed; (3) a statement that the applicant understands that he or she is charged with knowing and complying
with all applicable local rules; (4) a statement that the applicant has not been disbarred or formally censured by a court of record or by a state bar association;
and (5) a statement that there are no pending disciplinary proceedings against the applicant. This application, which can be downloaded from the court's
website, must be filed electronically by local counsel. Applications filed under this rule will be approved or disapproved by the clerk. Per LCR 83.1(d)(1)
